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 Counsel for Defendant Capital One Financial Corp.

     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     ------------------------------------------------------------ X
     MOHAMED ROSHAN,                                              :    Case No. 1:25-cv-02653-RER-JAM
                                                                  :
                                Plaintiff,                        :
                                                                  :    SECOND DECLARATION OF
     v.                                                           :    PHILIP A. GOLDSTEIN IN
                                                                  :    SUPPORT OF CAPITAL ONE’S
     CAPITAL ONE FINANCIAL CORP.,                                 :    MOTION TO DISMISS
                                                                  :    PLAINTIFF’S COMPLAINT
                                Defendant.                        :    PURSUANT TO FED. R. CIV. P.
                                                                  :    12(b)(6)
                                                                  :
     ------------------------------------------------------------ X

            I, PHILIP A. GOLDSTEIN, being of full age, pursuant to 28 U.S.C. § 1746, hereby declare

 under penalty of perjury as follows:

            1.       I am Counsel with the law firm McGuireWoods LLP, attorneys for Defendant

 Capital One Financial Corporation (“Capital One”). 1 I am admitted to practice law before this

 Court, and I am familiar with the pleadings, facts, and circumstances in this action. I submit this

 declaration in further support of Capital One’s Motion to Dismiss Plaintiff Mohamed Roshan’s

 (“Plaintiff”) Complaint pursuant to Fed. R. Civ. P. 12(b)(6).




 1
  Capital One, N.A. is the proper defendant in this matter, as it is the national banking association
 that maintains credit card accounts, including the accounts at issue in this litigation. Capital One
 Financial Corporation is a non-operating holding company, which has at no time maintained the
 credit card accounts at issue in this action. Therefore, Capital One Financial Corporation is not
 the proper defendant.


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        2.      Attached as Exhibit A are true and correct copies of the following authorities to be

 provided to pro se litigants pursuant to Local Civil Rule 7.2 that are cited in the accompanying

 memorandum of law:

             a. Arnold v. Harp v. Police & Fire Fed. Credit Union, No. CV 23-2577, 2023 WL
                5152625 (E.D. Pa. Aug. 10, 2023);

             b. Chavis v. T-Mobile US, Inc., No. A-23-CV-1513-DII-SH, 2024 WL 150734 (W.D.
                Tex. Jan. 11, 2024);

             c. Douglas v. AutoNation Honda Covington Pike, No. 3:23-CV-340-MPM-RP, 2023
                WL 6368330 (N.D. Miss. Sept. 12, 2023);

             d. Douglas v. AutoNation Honda Covington Pike, No. 3:23-CV-340-SA-RP, 2023
                WL 6326659 (N.D. Miss. Sept. 28, 2023);

             e. Frederick v. Wells Fargo Home Mortg., No. 13-CV-7364 DLI LB, 2015 WL
                1506394 (E.D.N.Y. Mar. 30, 2015);

             f. Harp v. Police and Fire Fed. Credit Union, No. CV 23-2577, 2023 WL 5152625
                (E.D. Pa. Aug. 10, 2023);

             g. Hurt v. Exeter Finance, LLC, No. 4:23-cv-1285, 2023 WL 8088601 (E.D. Mo. Nov.
                21, 2023);

             h. Lee Joseph Vidrine v. Capital One Bank, No. 6:23-CV-01500, 2024 WL 802242
                (W.D. La. Feb. 9, 2024);

             i. Payne v. Spectrum, No. SA-23-CV-01313-XR, 2023 WL 8681199 (W.D. Tex. Dec.
                15, 2023);

             j. Santander Consumer USA, No. 3:24-cv-1125, 2025 WL 1358546 (D. Conn. May
                9, 2025);

             k. Scriven v. Barnum, No. 24-CV-1805 (EK)(MJ), 2024 WL 1769318 (E.D.N.Y. Apr.
                24, 2024);

             l. Skvarla v. MRS BPO, LLC, No. 21-CV-55 (ER), 2021 WL 2941118 (S.D.N.Y. July
                12, 2021);

             m. Thomas v. Wells Fargo Bank, No. CV 23-00206-TFM-B, 2024 WL 478068 (S.D.
                Ala. Jan. 12, 2024);

             n. Thomas v. Wells Fargo Bank, No. 1:23-CV-206-TFM-B, 2024 WL 474903 (S.D.
                Ala. Feb. 7, 2024);



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               o. Vidrine v. Capital One Bank, No. 6:23-CV-01500, 2024 WL 790380 (W.D. La.
                  Feb. 26, 2024);

               p. Wilson v. Aqua Fin., No. 3:23-5348-SAL-SVH, 2023 WL 7924150 (D. S.C. Oct.
                  26, 2023); and

               q. Yarborough v. Queens Auto Mall, Inc., No. 08-CV-3179 DLI ALC, 2010 WL
                  1223584 (E.D.N.Y. Mar. 23, 2010).

          I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

 and correct.

          Executed on June 3, 2025 in New York, New York.

                                                       /s/ Philip A. Goldstein
                                                       PHILIP A. GOLDSTEIN

                                                       Attorney for Defendant Capital One
                                                       Financial Corporation



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